     Case 3:23-cv-03223-AMO         Document 183    Filed 10/08/24   Page 1 of 6



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17   STARTUP FUND MANAGEMENT, LLC
18
                                  UNITED STATES DISTRICT COURT
19
                                 NORTHERN DISTRICT OF CALIFORNIA
20
                                     SAN FRANCISCO DIVISION
21

22   IN RE OPENAI CHATGPT LITIGATION                Master File No. 3:23-cv-03223-AMO
23   This document relates to:                      DEFENDANTS’ ADMINISTRATIVE
                                                    MOTION TO FILE UNDER SEAL
24                                                  PORTIONS OF THE PARTIES’ JOINT
     All Actions
                                                    LETTER BRIEF
25
                                                    Judge: Hon. Robert M. Illman
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     DEFENDANTS’ MOTION TO FILE UNDER SEAL
     MASTER FILE NO.3:23-CV-03223-AMO
     Case 3:23-cv-03223-AMO         Document 183        Filed 10/08/24   Page 2 of 6



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     DEFENDANTS’ MOTION TO FILE UNDER SEAL
     MASTER FILE NO. 3:23-CV-03223-AMO
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     Case 3:23-cv-03223-AMO             Document 183         Filed 10/08/24       Page 3 of 6



 1           Pursuant to Civil L.R. 7-11 and 79-5(f), OpenAI Defendants (“OpenAI”) respectfully
 2   submit this Administrative Motion to File Under Seal Portions of the Parties’ Joint Letter Brief.
 3   The redacted portions of the parties’ joint letter brief regarding custodians directly reference a
 4   document produced by OpenAI during the course of discovery that is designated
 5   “CONFIDENTIAL” pursuant to the operative protective order in this case (ECF No. 106). As
 6   explained below and based on the facts set forth in the concurrently filed Declaration of Michael
 7   Trinh (the “Trinh Decl.”), the Court should maintain OpenAI’s proposed redacted portions under
 8   seal because such portions contain OpenAI’s confidential information that, if publicly disclosed,
 9   are likely to cause it competitive harm. Moreover, OpenAI’s proposed redactions are narrowly
10   tailored to redact only the minimum amount necessary to protect its confidential information.
11   Thus, good cause exists to maintain the redacted portions under seal.
12   I.    LEGAL STANDARD
13           In the Northern District of California, “a trial court has broad discretion to permit sealing
14   of court documents for . . . commercial information.’” GPNE Corp. v. Apple Inc., No. 12-cv-
15   02885-LHK, 2015 WL 4381244, at *1 (N.D. Cal. July 16, 2015) (quoting Fed. R. Civ. P.
16   26(c)(1)(G)). Sealing is proper once the moving party: (i) complies with Civil Local Rule 79-5;
17   and (ii) rebuts the applicable presumption in favor of access. Icon-IP Pty Ltd. v. Specialized
18   Bicycle Components, Inc., No. 12-cv-03844-JST, 2015 WL 984121, at *1 (N.D. Cal. Mar. 4,
19   2015) (citing Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)).
20           Local Rule 79-5(c)(1) requires that the movant provide a statement of the applicable legal
21   standard and the “reasons for keeping a document under seal.” In particular, the movant must
22   show: (i) “the legitimate private or public interests that warrant sealing”; (ii) “the injury that will
23   result if sealing is denied”; and (iii) “why a less restrictive alternative to sealing is not sufficient.”
24   These requirements are satisfied where disclosure of information would cause a party competitive
25   harm. See, e.g., Pace Anti-Piracy, Inc. v. Inside Secure, No. 17-cv-06744-BLF, 2018 WL
26   10517182, at *2 (N.D. Cal. Jan. 8, 2018) (holding commercially sensitive and confidential
27   information would substantially harm competitiveness).
28           Moreover, the Ninth Circuit has held that an exemption to the presumption of access to
     DEFENDANTS’ MOTION TO FILE UNDER SEAL
     MASTER FILE NO.3:23-CV-03223-AMO
                                                         1
     Case 3:23-cv-03223-AMO           Document 183          Filed 10/08/24    Page 4 of 6



 1   judicial records exists where the documents at issue are being filed in connection with a non-
 2   dispositive motion. See In re Midland Nat’l Life Ins. Co. Annuity Sales Pracs. Litig., 686 F.3d
 3   1115, 1119 (9th Cir. 2012) (recognizing an exception to the presumption of access to judicial
 4   records in the context of non-dispositive motions, and stating that, “[u]nder the exception, the
 5   usual presumption of the public’s right of access is rebutted” (citation and internal quotation
 6   marks omitted)). Under the exception, a particularized showing of “good cause” under Federal
 7   Rule of Civil Procedure 26(c) is sufficient to preserve the secrecy of sealed discovery documents
 8   attached to non-dispositive motions. Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214, 1222
 9   (Fed. Cir. 2013). Commercially sensitive information satisfies the “good cause” standard. Glob.
10   Indus. Inv. Ltd. v. 1955 Cap. Fund I GP LLC, No. 21-CV-08924-HSG, 2023 WL 6165695, at *4
11   (N.D. Cal. Sept. 20, 2023) (showing of competitive harm provided good cause to seal
12   documents).
13   II.   OPENAI’S REASON FOR SEALING
14         A. OpenAI’s Legitimate Private and Public Interests Warrant Sealing.
15         OpenAI respectfully requests that the Court seal the narrowed highlighted portions of the
16   concurrently filed joint letter brief regarding custodians because those portions reference and
17   quote portions of a document containing confidential business information. The cited language
18   relates to the internal testing and development of OpenAI’s proprietary models and, as such,
19   reveals aspects of the function of OpenAI’s technology and its business and product strategy.
20   Trinh Decl. ¶ 3. Courts have found similar types of information sealable. See, e.g., Doe v. Meta
21   Platforms, Inc., No. 22-cv-03580-WHO, 2022 WL 17970394, at *2 (N.D. Cal. Dec. 21, 2022)
22   (finding information “sealable” under N.D. Cal. L.R. 79-5 due to competitive harm).
23           OpenAI requests the following documents be sealed:
24           Document             Portion Sought to            Designation         Designating Party
25                                    be Sealed
      Concurrently filed joint
                                  Yellow highlighted
26     letter brief regarding                                  Confidential        Defendant OpenAI
                                   portions of letter
             custodians
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     DEFENDANTS’ MOTION TO FILE UNDER SEAL
     MASTER FILE NO. 3:23-CV-03223-AMO
                                                        2
     Case 3:23-cv-03223-AMO           Document 183         Filed 10/08/24      Page 5 of 6



 1        B. Injury to OpenAI Will Result if Sealing is Denied.
 2          OpenAI maintains its business and product strategy, including the testing and
 3   development of its proprietary models, as confidential. Trinh Decl. ¶ 3. Disclosure of this
 4   information would cause OpenAI substantial harm by providing third parties with insight into the
 5   function of OpenAI’s technology. Id. This potential injury warrants sealing. See Blockchain
 6   Innovation, LLC v. Franklin Res., Inc., et al., No. 21-CV-08787-TSH, 2024 WL 4394758, at *3
 7   (N.D. Cal. Oct. 3, 2024) (“[C]ourts regularly conclude that good cause supports sealing
 8   confidential technical information about a party's products and services[.]”).
 9        C. No Less Restrictive Alternative to Sealing is Sufficient.
10        OpenAI has limited its redactions to only small portions of the parties’ joint letter brief
11   regarding custodians and precisely identified the portions that contain OpenAI’s confidential
12   information. As such, no alternative to sealing is sufficient.
13          For the foregoing reasons, OpenAI respectfully moves this Court pursuant to Civil Local
14   Rules 7-11 and 79-5 to keep the information and text excerpts identified above under seal.
15   Pursuant to Civil Local Rule 79-5, this Motion is accompanied by the supporting Declaration of
16   Michael Trinh, a proposed order, and a sealed version of the parties’ joint letter brief regarding
17   custodians with OpenAI’s proposed redactions highlighted in yellow.
18
     October 8, 2024                                   KEKER, VAN NEST & PETERS LLP
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20                                                     By:    /s/ Christopher S. Sun
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     DEFENDANTS’ MOTION TO FILE UNDER SEAL
     MASTER FILE NO. 3:23-CV-03223-AMO
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     Case 3:23-cv-03223-AMO         Document 183      Filed 10/08/24   Page 6 of 6



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                                                   STARTUP FUND MANAGEMENT, LLC
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     DEFENDANTS’ MOTION TO FILE UNDER SEAL
     MASTER FILE NO. 3:23-CV-03223-AMO
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